Case 1:19-mc-00418-AJN Document 5-1 Filed 09/12/19 Page 1 of 4




                   EXHIBIT 1
         Case 1:19-mc-00418-AJN Document 5-1 Filed 09/12/19 Page 2 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 SECURITIES AND EXCHANGE COMMISSION,
                                               Plaintiff,
 v.
 RD LEGAL CAPITAL, LLC,
                                             Defendant.

                         [PROPOSED] FINAL JUDGMENT
                    ENFORCING COMPLIANCE WITH ORDER
             ISSUED BY US SECURITIES AND EXCHANGE COMMISSION

       Plaintiff Securities and Exchange Commission (“Commission”) having applied to this

Court for a judgment pursuant to Section 20(c) of the Securities Act of 1933 (“Securities Act”),

15 U.S.C. § 77t(c), enforcing compliance by defendant RD Legal Capital, LLC (“RD Legal”)

with a Commission order entered against it on October 15, 2018 (the “Commission Order”)

directing RD Legal to pay a civil penalty of $575,000, and it appearing that such application

should be granted,

       IT IS HEREBY ORDERED, THAT:

       1.      The Commission’s application is GRANTED.

       2.      The Commission Order is hereby enforced, pursuant to Section 20(c) of the

Securities Act, and RD Legal shall:

               a. Cease and desist from committing or causing any violations or future

                     violations of Sections 17(a)(2) and (3) of the Securities Act; and

               b. Pay a civil penalty in the amount of $575,000, together with additional post-

                     order interest pursuant to 31 U.S.C. § 3717.

       3.      Within 14 days of the entry of this Final Judgment, RD Legal shall pay the above

amounts to the Commission. Payment may be made electronically to the Commission, which
           Case 1:19-mc-00418-AJN Document 5-1 Filed 09/12/19 Page 3 of 4



will provide detailed ACH transfer/Fedwire instructions upon request made to Disgorgement-

Penalty@sec.gov and/or (202) 551-7940. Payment may also be made directly from a bank

account via Pay.gov through the SEC website at https://www.sec.gov/paymentoptions. RD Legal

may also pay by certified check, bank cashier’s check, or United States postal money order,

made payable to the Securities and Exchange Commission and setting forth the title and civil

action number of this action and the name of this Court; and specifying that payment is made

pursuant to this Judgment. The funds may be hand-delivered or mailed to:

               Enterprise Services Center
               Accounts Receivable Branch
               HQ Bldg., Room 181, AMZ-341
               6500 South MacArthur Boulevard
               Oklahoma City, OK 73169

Payments must be accompanied by a cover letter identifying RD Legal as the defendant in this

action, and the name of this Court and the docket number of this action. A copy of the cover

letter and payment confirmation must be sent to Elizabeth Goody, Securities and Exchange

Commission, New York Regional Office, 200 Vesey Street, Suite 400, New York, NY 10281.

       4.      By making such payment RD Legal relinquishes all legal and equitable right, title

and interest in such funds, and no portion of such funds shall be returned to RD Legal. The

Commission shall send funds received to the United States Treasury.

       5.      RD Legal shall pay to the Commission postjudgment interest on any delinquent

amounts pursuant to 28 U.S.C. § 1961.

       6.      If RD Legal does not pay the above amounts the Commission may enforce this

Judgment through the remedies available by law to collect the unpaid balance. Such remedies

include:

               a. All collection procedures authorized by the Federal Debt Collection Procedure



                                               2
         Case 1:19-mc-00418-AJN Document 5-1 Filed 09/12/19 Page 4 of 4



                   Act, 28 U.S.C. §§ 3001 -3308 (including the 10% surcharge authorized by 28

                   U.S.C. § 3015); and

               b. All offset rights pursuant to the Treasury Offset Program.

       7.      To preserve the deterrent effect of the civil penalty, amounts ordered to be paid as

civil penalties pursuant to this Judgment shall be treated as penalties paid to the government for

all purposes, including all tax purposes.

       8.      The Court shall retain jurisdiction of this matter for the purposes of enforcing the

terms of this Judgment.

 Dated: ___________________, 2019
        New York, New York
                                              UNITED STATES DISTRICT JUDGE




                                                 3
